Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-70, PageID.2385   Filed 04/10/25   Page 1


                    EXHIBIT 69
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-70, PageID.2386   Filed 04/10/25   Page 2
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-70, PageID.2387   Filed 04/10/25   Page 3
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-70, PageID.2388   Filed 04/10/25   Page 4
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-70, PageID.2389   Filed 04/10/25   Page 5
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-70, PageID.2390   Filed 04/10/25   Page 6
                                      of 7
Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-70, PageID.2391   Filed 04/10/25   Page 7
                                      of 7
